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                                  UNITED STATES DISTRICT COURT

                                 NORTHERN DISTRICT OF CALIFORNIA

                                         CRIMINAL MINUTES

 Date: May 6, 2021                 Time: 1:04-3:13,3:36-5:07,        Judge: Edward J. Davila
                                   5:08-5:20 pm
                                   Total Time: 3 Hrs. 52 Mins.
 Case No.: 18-cr-00258-EJD- Case Name: UNITED STATES v. Elizabeth Holmes(P)(NC)
 1

Attorney for Plaintiff: Jeffrey Schenk, John Bostic, Robert Leach, Kelly Volkar

Attorney for Defendant: Kevin Downey, Lance Wade, Amy Saharia, Patrick Looby, Andrew Lemens


  Deputy Clerk: Adriana M. Kratzmann                  Court Reporter: Irene Rodriguez

  Interpreter: N/A                                    Probation Officer: N/A


                 PROCEEDINGS – MOTIONS IN LIMINE HEARING (Day 3)
           IN-COURT via AT&T Telephone Conference for public access due to COVID19

Defendant is present and out of custody. Hearing held.
The Court heard oral arguments and took the remainder of the motions in limine under submission
and/or deferred and to issue the order.

Hearing from 5:08-5:20 pm is SEALED – The Court ordered this portion of the transcript
ordered UNDER SEAL and may not be obtained without Court order.


Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure,
Brady v. Maryland, 373 U.S. 83 (1963), and all applicable decisions interpreting Brady,
the government has a continuing obligation to produce all information or evidence known
to the government that is relevant to the guilt or punishment of a defendant, including,
but not limited to, exculpatory evidence.

                                                                                        Adriana M. Kratzmann
 P/NP: Present, Not Present
                                                                                            Courtroom Deputy
 C/NC: Custody, Not in Custody
                                                                                               Original: Efiled
 I: Interpreter
                                                                                                          CC:
                Case 5:18-cr-00258-EJD Document 786 Filed 05/06/21 Page 2 of 2




Accordingly, the Court Orders the government to produce to the defendant in a
timely manner all information or evidence known to the government that is either:
(1) relevant to the defendant’s guilt or punishment; or (2) favorable to the defendant on
the issue of guilt or punishment.

This Order is entered under Rule 5(f) and does not relieve any party in this matter
of any other discovery obligation. The consequences for violating either this Order or the
government’s obligations under Brady include, but are not limited to, the following:
contempt, sanction, referral to a disciplinary authority, adverse jury instruction, exclusion
of evidence, and dismissal of charges.




                                                                                     Adriana M. Kratzmann
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                                                                                         Courtroom Deputy
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